                               DOCUMENT
      Case 3:18-cv-00453-SMD Document   2 Filed 05/02/18 Page 1 of 6
                                      1-3                 ELÉCTRONICALLY FILE
                                                                      2/22J2018
                                                                                    .0001800
                                                                           „-' _08_=9
                                                                           2
                                                                         Q:IIT cPtIRT oFl
                                                                ilAmOtiks MONTY',
            IN THE CIRCUIT COURT OF CHAMBERS COUNT                    ► BURDETTE,Ct



HEATHER SCHULTZE AND ROBERT
SCHULTZE,HUSBAND AND WIFE,

       Plaintiffs,
                                                CIVIL ACTION NO.:
vs.
                                                JURY DEMAND
WALMART INC.and;
NO. 1, whether singular or plural, being that
individual, or entity who or that was doing
 business as Walmart Inc. at the time of the
occurrence made the basis of Plaintiffs'
Complaint
NO. 2, whether singular or plural, Plaintiffs
hereby intending to designate that entity
who or which was doing business as Valley
Walmart Inc. Supercenter and was located at
3501 20th Ave, Valley, AL 36854, at the
time of the incident made the basis of
Plaintiffs' complaint;
NO. 3, whether singular or plural, Plaintiffs
hereby intending to designate that entity or
those entities including persons who or
which failed to maintain safe premises and
other areas which were involved in the
occurrence made the basis of Plaintiffs'
complaint;
NO. 4, whether singular or plural, Plaintiffs
hereby intending to designate that entity or
those entities including persons who or
which failed to detect or remedy hazardous,
dangerous or defective conditions on the
premises which were involved in the
occurrence rnade the basis of Plaintiffs'
complaint;
NO. 5, whether singular or plural, Plaintiffs
hereby intending to designate that entity or
those entities including persons who or
which failed to properly maintain the
premises which were involved in the
occurrence made the basis of Plaintiffs'
complaint;
      Case 3:18-cv-00453-SMD Document 1-3 Filed 05/02/18 Page 2 of 6




NO. 6, whether singular or plural, Plaintiffs
hereby intending to designate that entity or
those entities including persons who or
which failed to inspect, remove or alter
conditions on the premises involved in the
occurrence made the basis of Plaintiffs'
complaint;
NO. 7, whether singular or plural, Plaintiffs
hereby intending to designate that entity or
those entities who or which followed
negligent maintenance and management
practices in keeping the premises safe which
were involved in the occurrence made the
basis of Plaintiffs' complaint;
NO. 8, whether singular or plural, Plaintiffs
hereby intending to designate that entity or
those entities including persons whose
negligence, wantonness, or other wrongful
conduct caused the occurrence made the
basis of Plaintiffs' complaint; Plaintiffs
hereby intending to designate that entity or
those entities including persons who or
which is the successor in interest in any of
those entities described above; Plaintiff aver
that the identity of the fictitious parties
defendant is otherwise unknown to the
Plaintiff at this time, or if their name is
known their identity as proper party
defendants is not known to the Plaintiff at
this, and that their true names will be
substituted by amendment when the
aforesaid lacking knowledge is ascertained,

                Defendants.


                                          COMPLAINT


        COME NOW Plaintiffs HEATHER SCHULTZE AND ROBERT SCHULTZE,Husband

and Wife, by and through undersigned attorney, and as the basis for the relief hereinafter prayed

for, state as follows:




                                          Complaint
                                            Page 2
  Case 3:18-cv-00453-SMD Document 1-3 Filed 05/02/18 Page 3 of 6




               GENERAL AND JURISDICTIONAL ALLEGATIONS

1. Plaintiff Heather Schultze is an adult resident and citizen of West Point, Georgia.

2. Plaintiff Robert Schultze is the husband of Heather Schultze and is an adult resident and

   Citizen of West Point, Georgia.

3. Defendant Walmart Inc. is a Delaware corporation with its principal place of business in

   Arkansas and doing business in Chambers County, Alabama at all times relevant herein.

4. The incident which forms the basis of Plaintiffs' complaint occurred in Chambers

   County, Alabama.

                                           COUNT I

5. Plaintiffs adopt and reassert the averments contained in previous paragraphs of this

   cornplaint, and incorporate the same by this reference as if more fully set out herein.

6. On or about April 9,2016, Heather Schultze was a business invitee at Defendant Walmart

   Inc. located at 3501 20th Ave, Valley, AL 36854. At said time, Defendants and/or one or

   more of the fictitious parties defendants listed and/or described in Plaintiffs' complaint

   negligently or wantonly failed to maintain the premises in a safe condition, such failure

   causing Plaintiff to suffer injury. Defendants were negligent or wanton in one or more of

   the following respects:

   a.     Defendants failed to exercise reasonable care to provide and maintain reasonably

          safe premises for use by those persons lawfully on their premises;

   b.     Defendants breached their duty to be reasonably sure that they were not inviting

          another into a situation of danger or peril;

   c.     Defendants breached their duty to warn invitees of defects and danger associated

          with the premises;



                                      CoMplaitit                                             3
                                        Page 3
  Case 3:18-cv-00453-SMD Document 1-3 Filed 05/02/18 Page 4 of 6




   d.     Defendants failed to maintain the prernises in such a manner so as not to

          constitute a hazard to those persons on the premises, including but not limited to

          allowing a hazardous substance to remain on the floor of their premises;

   e.     Defendants failed to inspect, remove or alter conditions on the premises which

          were likely to cause injury or damage;

   f.     Defendants failed to identify or remedy known or foreseeable hazards.

7. As a proximate result of defendant's conduct, Plaintiff Heather Schultze was caused to

   suffer the following injuries and damages:

   a.     She incurred, and continues to incur, physical pain and suffering as a result of the

          physical injuries sustained in the above described incident, which injuries include

          but are not limited to migraines, polyneuropathy, carpal tunnel syndrome,

          insomnia, dizziness and giddiness, right sacrOiliac joint dysfunction and right

          lower exti•emity paresthesias;

   b.     She incurred, and continues to incur, mental pain and angUith as a result of the

          physical injuries sustained in the above described incident;

   c.     She incurred, and continues to incur, medical expenses in and about.an effort to

          cure and/or heal the physical injuries sustained in the above described incident;

   d..    She incurred, and continues to incur, loss of enjoyment of life as a result of the

          physical injuries sustained in the above described incident;

   e.     She incurred permanent impaittnent and disabilities as a result of the physical

          injuries sustained in the above described incident;

   f      She incurred lost wages as a reSult of the physical injuries sustained in the above

          described incident,



                                     Complaint
                                      Page 4
     Case 3:18-cv-00453-SMD Document 1-3 Filed 05/02/18 Page 5 of 6




       WHEREFORE,Plaintiffs demand entry ofjudgment against the defendants, and each of

them, in an amount which the jury deems fair and just to compensate Plaintiff, punitive damages

and costs ofcourt.

                                            COUNT II
                                        Loss of Consortium

   8. Plaintiffs reassert previous paragraphs of this Complaint and incorporate the same by

       reference as if fiilly set out herein.

   9. The foregoing wrongful conduct of said Defendants combined and concurred and

       rendered said defendants liable to Plaintiff Robert Schultze for the following injuries and

       damages: he was caused to lose the services, support and consortium of his wife for a

       period of time and wi11 be caused to lose said services and consortium for a period of

       time uncertain.

       WHEREFORE,Plaintiffs demand judgment against the Defendants, and each of them,in

an amount which the jury deems fair and just to compensate Plaintiffs, punitive damages and

costs ofcourt:




                                                ATTORNEYS FOR PLAINTIFFS



                                                s:/Douglas J. Fees
                                                DOUGLAS J. FEES FEE001
                                                THE COCHRAN FIRM — HUNTSVILLE
                                                401-403 Madison Street
                                                P.O. Box 508
                                                Huntsville, AL 35804
                                                (256)536-1199
                                                dfees@cochranfirm.com




                                            Cornplaint                                          5
                                              Page 5
                               DOCUMENT
      Case 3:18-cv-00453-SMD Document 1-32 Filed 05/02/18 Page 6 of 6




                                        JURY DEMAND

       Plaintiffs respectfully demand a trial by struck jury.


                                                 Ael  111
                                             .41111110yrFEES


Defendant to be served by certified mail by filer as follows:

Walmart Inc.
c/o The Corporation Company
2000 Tnterstate Park Drive
Montgomery, AL 36109-5421




                                          Ccatiplaint                   6
                                            Page 6
